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16
17                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
18                            SOUTHERN DIVISION
19    GOVINO, LLC, a Delaware limited liability       CASE NO. 8:17-CV-1237
      company,
20                                                    JLS (JCGX)
                   Plaintiff,
21    v.                                              [UNREDACTED] PLAINTIFF
                                                      GOVINO, LLC’S
22    GOVERRE, INC., a Delaware corporation;          MEMORANDUM OF POINTS
      REGAN KELAHER, an individual;                   AND AUTHORITIES IN
23    SHANNON ZAPPALA, an individual; and             OPPOSITION TO GOVERRE,
24    DOES 1-10,                                      INC.’S PARTIAL MOTION
                                                      FOR SUMMARY JUDGMENT
25              Defendants.
      ____________________________________            Date: September 7, 2018
26                                                    Time: 2:30 p.m.
      GOVERRE, INC., a Delaware corporation,          Place: Courtroom 10A
27    REGAN KELAHER, an individual;                   Judge: Hon. Josephine L. Staton
      SHANNON ZAPPALA, an individual; and
28    DOES 1-10,
29
30                                           i
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1                Counter-Plaintiffs,
           v.
2
     GOVINO, LLC, a Delaware limited liability
3    company,
4                Counter-Defendant
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3          Joseph Perrulli (“Perrulli”) founded Plaintiff Govino, LLC (“Govino”) over ten years
 4   ago. One of Perrulli’s closest friends of more than thirty years, John Greer and his company
 5   LJG Partners (LJG), served as an advisor throughout. Greer was also Defendant Shannon
 6   Zappala’s brother-in-law.
 7          Zappala and Defendant Regan Kelaher (“Kelaher”) would eventually hire Greer and
 8   LJG to help them develop a company to compete with Govino. Worst of all, they even gave it
 9   the confusingly similar name “Goverre”. Greer and LJG secretly helped Defendants even
10
     though they were under contract with Govino to manage Govino’s web marketing and
11
     branding. Zappala and Kelaher created and developed Goverre off the goodwill and trials and
12
     tribulations of Govino. Indeed before Zappala and Kelaher began the design of their Goverre
13
     glass by hiring the reverse-engineering of Govino’s glasses to determine the “Govino
14
     proportions”. Govino’s glass was the only glass they reverse engineered. Govino was the
15
     recurring mantra throughout Goverre’s “inventor’s notebooks”, board meeting minutes,
16
     naming and brainstorming records, and internal communications. As their professional and
17
     personal lives continued to intersect with Perrulli and Govino, Greer and Zappala actively
18
     mislead Govino and suppressed key facts.
19
            Defendants do not seek summary judgment of no trademark infringement. Instead
20
     Defendants “notice” an attempt to dispose of the entire case based upon their defense of
21
22   laches, but provide no supporting facts or argument whatsoever to carry their initial burden.

23   Regardless, not only is Govino entitled to a presumption because it brought its action within

24   four years, but Greer’s and Defendants’ fraud, misrepresentations, suppression of facts, and

25   willful infringement eviscerate any laches defense.
26          In the same vein, Defendants’ attempt at partial summary adjudication against willful
27   infringement, exceptional case, and unjust enrichment fail. “GOVERRE” was derived from
28   “GOVINO”. Defendants so-called seeking of “legal opinions” after-the-fact cannot defeat
29   willful infringement on summary judgment.
                                                    1
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 1           Defendants’ attempt to preclude damages are also based upon conclusory and misguided
 2   argument. Rather because Govino and Goverre are direct competitors, Goverre’s profits may
 3   serve as a proxy for what Govino would have recovered had Goverre not infringed upon or
 4   been likely to dilute Govino’s mark.
 5           Defendants’ challenge to dilution based upon famousness relies upon case law this
 6   District has distinguished as being decided before the Trademark Dilution Revision Act of
 7   2006 and not based upon the “light most favorable to non-moving party” standard on summary
 8   judgment. Additionally, Defendants mistaken conditions sufficient to render a mark famous,
 9   with conditions necessary to render a mark famous.
10
             Defendants’ attempt to dismiss individuals Zappala and Kelaher in their individual
11
     capacities also fails. Because Zappala and Kelaher directed all relevant acts of infringement,
12
     they can be sued in their individual capacities.
13
14   II.     SUMMARY OF FACTS
15           A.    Govino’s Famousness And Brand Recognition
16           Perrulli founded By The Glass, LLC in 2007 which later became Govino, LLC in
17   January 2014. SOUF ¶ 100. Govino designs, manufactures, distributes and sells a niche
18   group of drinking vessels. SOUF ¶ 101. Through years of marketing and developing
19   goodwill, Govino has since become a leading global provider of original and distinctive
20   drinking glasses that include, inter alia, its GOVINO® Go Anywhere® shatterproof, reusable,
21   recyclable™ and dishwasher-safe stemless wine glasses, flutes, cocktail glasses, beer glasses,
22   and decanters (collectively the “GOVINO® Products”). Id. Each of the GOVINO® Products
23   are readily identifiable and distinguishable over competitor products, e.g., by way of inclusion
24
     of a distinctive ornamental notched indent in the glass sidewall. SOUF ¶ 102.
25
                   1.     Recognized By Experts In Industry
26
             The GOVINO® Products are recognized by experts in the wine industry, such as Nicola
27
     Marzovilla (wine distribution company, restaurant and vineyard owner) and Seth Box (director
28
29
                                                        2
30         PLAINTIFF GOVINO, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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 1   of education for Moët Hennessy USA), both of whom recommended the GOVINO® Go
 2   Anywhere® Wine Glass in The New York Times. SOUF ¶ 103.
 3                2.    Industrial Design Awards
 4          Govino has earned numerous awards related to the distinctive product
 5   configuration and/or trade dress for several of its products. Specifically, the GOVINO® Go
 6   Anywhere® Wine Glass won the International Design Excellence Award (IDEA) –Silver
 7   Award (2010) and the Good Design Award for 2010 from the Chicago Athenaeum: Museum
 8   of Architecture and Design (“Good Design Award”); and the GOVINO® Go Anywhere®
 9   Flute won the IDEA – Bronze Award (2012) and the Good Design Award for 2012. SOUF ¶
10
     104. The IDEA awards are from the Industrial Designers Society of America, and Govino was
11
     the recipient of these awards based on the premise that the GOVINO® Go Anywhere® Wine
12
     Glass and the GOVINO® Go Anywhere® Flute made drinking wine out of plastic glass
13
     acceptable in the wine industry. SOUF ¶ 105. In 2016 the GOVINO® “Go Anywhere
14
     Dishwasher Safe Series” again won the Good Design Award SOUF ¶ 106. That same year
15
     Govino’s jewel-toned glasses won the Pantone Award from the Pantone Institute. SOUF ¶
16
     107.
17
                  3.    Immortalized In History As An Innovator In Housewares
18
            Govino’s impact on the history of housewares has been immortalized with the awarding
19
     of a free-standing refrigerator-sized plaque at the International Housewares Association
20
     (“IHA”) headquarters that has been and will be displayed at every IHA show since 2016.
21
22   SOUF ¶ 108. Govino’s role in the history of wine was documented with the display of the

23   iconic GOVINO® Go Anywhere® Wine Glass and its GOVINO® 4-Pack Tote being featured

24   at the seminal Design Exhibition “How Wine Became Modern” at the San Francisco Museum

25   of Modern Art in 2010. SOUF ¶ 109.
26                4.    Popularized Through Media.
27          The GOVINO® Go Anywhere® Wine Glass, along with other GOVINO® Products,
28   have been displayed and endorsed through video publications, such as by television
29   personality and well-known celebrity Martha Stewart (marthastewartliving.com) and The
                                                    3
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 1   Today Show. SOUF ¶ 110. The GOVINO® Products include product placements in
 2   numerous popular TV shows such as The Bachelor®, the George Lopez show, The Martha
 3   Stewart Show, The Today Show, The Bachelor, HouseWives of Beverly Hills, Bad Mom’s,
 4   Oscar® winning movies such as La La Land, and hundreds of world-renowned newspapers ,
 5   magazines and respected online articles that reach millions of readers daily. SOUF ¶¶ 111-
 6   112. In 2017 alone, Govino achieved over of 24 Million print impressions, and over 842
 7   Million web impressions. SOUF ¶ 113.
 8
                  5.    Popularized In Music and Wine/Food Festivals -The Quintessential
 9                      “Go Anywhere” Setting.
10         Additionally, Govino has been featured at the most internationally known food, wine

11   and music festivals, such as Coachella, Bottlerock, Outside Lands, Aspen Food & Wine,
12   Pebble Beach Food & Wine, and the Robert Mondavi Discover Wine Tour to name a few.
13   These festivals are particular to the “Go Anywhere” drinking of beverages. There is no more
14   relevant venue where more people would be exposed to Govino at the same time, same place.
15   SOUF ¶¶ 114-115.
16                6.    Success in Marketplace
17         The GOVINO® Products are now among the most sought after and well-recognized
18   products in the industry. SOUF ¶ 116. For example, the GOVINO® Products have been top
19   selling products on Amazon.com, some of which have been highly ranked (i.e., #1-#4) for
20   several years dating back to 2010. Id. Thus, the GOVINO® Products rank in the top 1% of
21   products on Amazon.com. In each instance, the Amazon.com listings prominently display
22   Govino’s trademarks, distinctive product configurations, and distinctive trade dress. Id.
23
                  7.    Exposure From Co-Branding With Other International Famous
24                      Brands.
25         Govino enjoys additional exposure through co-branding with other non-wine, famous
26   brands including Amercian Express, Lexus, Audi, Maserati, Citibank, Madison Square
27   Garden, Martha Stewart, America’s Cup, Kentucky Derby, Shake Shack, etc.; and partnerships
28   with hundreds of flagship wineries including Robert Mondavi, Rombauer, Duckhorn, Frogs
29   Leap, Francis Ford Coppola. SOUF ¶¶ 117-118.
                                                    4
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                  8.    Extensive Intellectual Property.
 1
           Govino is also the sole and exclusive owner of several valid and enforceable United
 2
     States trademark registrations for GOVINO and GO ANYWHERE for “Decanters; Drinking
 3
     vessels” and “wine, wine sold in a flexible pouch, wine sold in a flexible pouch with a
 4
     disposable wine glass, and wine sold in a single serving size”. SOUF ¶¶ 119-121. Govino’s
 5
     success has resulted in the copying its intellectual property and attempt take a free ride upon
 6
     its goodwill. Govino has acted to police and enforce such intellectual property violations by
 7
 8   sending over a hundred takedown notices and cease and desist letters to various infringing

 9   entities and filing numerous lawsuits. SOUF ¶ 122. Govino’s legal action has been largely

10   successful. Id.

11         B.     Defendants’ Willful Infringement.
12                1.    Hiring of Govino’s Business Director and Marketing/Brand Manager.
13         Greer, along with LJG, acted as business advisor for Govino and Govino’s predecessor
14   entities beginning in 2007, contracted to re-design Govino’s website and refresh its logo
15   between February 2014 through April 2015, and was poised to be Govino’s marketing and
16   brand manager. SOUF ¶ 123. Additionally, Perrulli considered Greer one of his closest
17   friends for over 30 years. SOUF ¶ 124. Greer, served as Perrulli’s and Govino’s advisor since
18   founding. Id. In 2010 Greer brought Zappala to visit Perrulli and Govino as documented.
19   SOUF ¶ 125.
20         In Kelaher’s and Zappala’s (and then co-founder Shelby Novell’s) early
21   “brainstorming sessions” examples of ideas ranged from “Laura Kain franchising”,
22   “Anthropologie like” “Up Cycling Store”, and from a “childhood obesity” and “anti-bullying
23   campaign” to “Real-estate flipping”. SOUF ¶ 126. Not so coincidentally, after John Greer and
24
     his then fiancé, now wife Beth O’Hara (now Beth Greer) attended as early as February 4, 2013
25
     beginning at least as early as February 4, 2013, they decided to create a portable, stemless,
26
     wine glass to compete with Govino. SOUF ¶ 127. John Greer and Beth O’Hara were indeed
27
     “mentors” throughout. Id. Kelaher and Zappala also engaged the services of John Greer’s
28
     company LJG Partners (“LJG”) including LJG’s Marketing Director, Amanda Whichard
29
                                                     5
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 1   Holliday, and Account Executive, Jessica Gourvitz who were had provided and were
 2   providing PR, marketing, and brand management services to Govino. SOUF ¶ 128
 3                  2.   Intimately Familiar With Govino.
 4         Prior to deciding to start a company, Zappala, Kelaher, and Greer were intimately
 5   familiar with Govino. SOUF ¶ 129. For example, the Goverre founder Shelby Novelle admits
 6   the extent of their active use of Govino “instead of regular wine glasses” mostly “whenever
 7   there was, like, you know, activity going on when there was people over, and we were all
 8   visiting and didn’t want any broken glasses.” Id.
 9
                    3.   Knowingly Selecting Selecting Confusingly Similar Name “Goverre”.
10
           Zappala and Kelaher had direct knowledge of Govino. It’s selection of Goverre was no
11
     coincidence.
12
13
14
15
     Below are just some of the many similarities between GOVINO and GOVERRE that
16
17   linguistics expert Dr. Butters identified:

18         • They begin with the same three phonemes, [gov-].
19         • The word go. go + vino and go + verre, so that the most-significant initial portion of
             each is again exactly the same—that is, the familiar word go followed by a non-
20           native word that begins with the letter <V> and the sound [v].
21         • They are short words, composed of nearly the same number of PHONEMES (6
             versus 5).
22
           • They begin with an unstressed syllable and are stressed on the second syllable.
23
           • They have identical consonant-vowel (CV) structures consisting of alternating single
24           consonants followed by vowels.
25         • What is true of the phonology of GOVINO and GOVERRE is also true of
             SPELLING: the marks are of moderate and nearly equal length, beginning with the
26           same three-letter sequence, <GOV->, which makes up approximately half of each
27           word (50% and 42.9% respectively)

28         • Furthermore, words ending in <-O> and <-ERRE> are relatively rare in English, thus
             marking each word as unusual and generally borrowed from Romance languages
29           (Latin, French, Italian, Spanish). The fact that the “look” of each word is in this way
                                                    6
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               peculiar or exceptional for both words cancels out the abnormality factor as a feature
 1             that might otherwise distinguish one mark from the other.
 2
     SOUF ¶ 130.
 3
            Greer admits he thought Goverre and Govino sounded alike. SOUF ¶ 131. (“…, but I
 4
     just think they kind of sound similar. Go V, you know.”) Id. Goverre co-founder Shelby
 5
     Novelle also confirmed that they were similar. SOUF ¶ 127 (“…G-O-V. I mean, the rest it's
 6
     different. Could someone get confused, maybe...”) Id.
 7
 8          Defendants also admit that Goverre is “copied” and that its “name is objectionable.” In

 9   Goverre’s Business Plan circulated September 2014, it lists a “SWOT Analysis”, an acronym

10   for “weakness, threat, opportunity”. Id. It lists as a “weakness”/“threat” to the company that

11   its “name is objectionable.”
12
13
14
15
16
17
18
19
20   SOUF ¶ 192. Presumably the “opportunity” was to “change the name”, which Goverre never
21   did.
22                4.    Goverre’s Tagline Was Derived From Govino.
23
            Govino’s tagline is GoAnywhere®. Goverre, whose name is also similar to
24
     GoAnywhere® devised the tagline Any Wine Any Time. In Goverre’s “brainstorming”
25
     record, Govino is the only wine or wine-glass related product listed aside from Starbucks
26
     which allegedly also serves wine. SOUF ¶ 133.
27
28
29
                                                    7
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 1
 2
 3
 4
 5
 6
 7   SOUF ¶ 134.
 8              5.  Govino Was The Mantra Behind Goverre’s Development
 9       Goverre’s meeting minutes and inventor’s notebooks further confirm that Govino was a

10   mantra throughout their development. For example:

11              • “ there isn’t a travel or to go wine glass (picnic, hiking, movies, sporting events,
                  block parties, walks around the neighborhood…govino …spills doesn’t travel”
12                SOUF ¶ 135.
13              • “17 oz Govino proportions. Id.
14              • “Govino proportions” Id.
15              • “$40k for govino mold”1 Id.
16              • “Govino started high” Id.
17              • “Govino has 3 million in sales a year…Dean and DeLuca” (Dean and De Luca is a
                  small mom and pop store in Napa- coincidentally one of Govino’s first retailers). Id.
18
                • “govino glass to be reverse engineered. 2d drawing with specifications and
19                tolerances. Mechanical drawings. CAD package.” Id.
20              •    “Get from engineer, need technical specifications for manufacture govino, flask,
21                  basic research (In a project planning document) Id.

22              • “Partnership with, govino, thermos, wine glass- 20%” in its meeting minutes. Id.

23              • Financial Projections…govino Id.
24   The only recurring theme throughout Defendant’s “brainstorming” was “Govino-Govino-
25   Govino.” Consistent with the meeting minutes, Goverre founder Shelby Novell confirmed that
26   they were at least focused (but not fixated) on Govino. SOUF ¶ 139.
27
28
29   1
         Provided to govino by Greer. Zappala Tr. 120:22-121:13.
                                                                   8
30          PLAINTIFF GOVINO, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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 1                 6.     Goverre Reverse-Engineered The Govino Design To Copy Govino’s
                          Shape And Proportions.
 2
             In May 2013, Defendants paid Mindflow Design to reverse engineer the Govino glass.
 3
     It was the only glass that was reverse engineered. SOUF ¶ 137. As documented by email,
 4
     Kelaher and Zappala were to bring the “plastic cup” (Govino glass) whose shape we will
 5
     mimic.” SOUF ¶ 138. Mindflow Design provided Goverre a detailed side-by-side CAD
 6
     drawings showing the Goverre glass (left) derived from the labeled Govino glass (right)
 7
     including all dimensions and circumferences. Id.
 8
 9
10
11
12
13
14
15
16
17
     Id.
18
             Additionally Defendants mimicked Govino’s distinctive thumb notch with an oval
19
     strategically placed in the same place. SOUF ¶ 139.
20
21           C.    Goverre Intended To Be Associated With Govino
22           In addition to choosing a confusingly similar name, Defendants intended the association
23   of Goverre with Govino. Greer tied the success of Goverre to Govino. For example, in an
24   email of January 2014 updating Zappala and Kelaher about positive developments for Govino,
25   namely being purchased by Ladera Vineyards, Greer closed with “Here’s to GOVERRE and
26   govino!” SOUF ¶ 139. In another email discussing Govino’s acquisition, Greer says “I see
27   this as a good sign for GOVERRE!...So excited for you both. Please let me know if Amanda
28
29
                                                     9
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 1   may be of assistance.” SOUF ¶ 141. “Amanda” refers to Amanda Whichard of LJG, who
 2   serviced the Govino account. Id.
 3         Goverre’s meeting minutes also list “partnership with, govino, thermos, wine glass-
 4   20%”. SOUF ¶ 142. This was presumably another reason why they chose the similar-
 5   sounding name Goverre and to mimic Govino’s glass.
 6         Indeed, throughout its business plans and presentations, Goverre identifies Govino as
 7   competition. SOUF ¶ 143. What Goverre’s identifies as the same includes “chic”, “drinking
 8   experience”, and “actual wine glass.” Id.
 9         Goverre also knew that others approached Goverre following an association with
10
     Govino. SOUF ¶ 144. In one example, April Yap Hennig, a marketer from Sacreddrop.com
11
     offered to promote Goverre while mentioning she had “been using GoVino glasses for the
12
     beach”. Id. No other product was mentioned. SOUF ¶ 145. In another example, Monti
13
     Porter, a sales representative from Scarlet&Co messaged Goverre with “Hi- We love your
14
     Goverre! We currently represent Govino in the Pacific NW and would love to also represent
15
     Goverre when you are ready to work with sales representation...” SOUF ¶ 146. Again, no
16
     other company name was mentioned. SOUF ¶ 147.
17
           D.    Greer and Zappala’s Fraudulent Concealment Of Facts From Govino.
18
           Greer’s assistance to Zappala and Kelaher in violation of his fiduciary duties to Govino,
19
     was secretive. Greer passed Zappala and Kelaher Govino’s confidential financial and pricing
20
     information, and business strategies. SOUF ¶ 147.
21
22         Meanwhile, Zappala similarly misled Govino. While Zappala would “Like” Govino on

23   Facebook on April 7, 2013, she hid the fact that they had devised a company called Goverre,

24   reserved a domain name for Goverre, designed a glass off “Govino proportions”, and made

25   pitch decks admitting that they would compete with Govino. SOUF ¶ 149.
26         In January 2014, Govino discovered that Greer had supported a company called Goverre
27   founded by Zappala on Facebook. SOUF ¶ 150. Following some discussion, Greer lead
28   Govino to believe that he would fix the problem. SOUF ¶ 151. Greer, after all, was engaged
29   to Zappala’s sister, Beth O’Hara (now Beth Greer), and would soon be contracted by Govino
                                                   10
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 1   for its marketing and brand management. SOUF ¶ 123. Greer represented that Kelaher and
 2   Zappala were trying to raise money to start a company on Kickstarter, and that if they couldn’t
 3   meet their funding goal, the project would be “put on hold indefinitely.” Greer further
 4   downplayed the threat by portraying Zappala and Kelaher as amateur moms that were in over
 5   their heads, and reaffirming his allegiance to Govino. SOUF ¶ 151.
 6         On February 14, 2014, just nine days after LJG had entered a contract with Govino,
 7   Perrulli again raised the issue to Greer after a concerned Govino affiliate expressed concern
 8   after learning that Goverre was on Kickstarter. SOUF ¶ 152. Greer responded that i) the
 9   “Kickstarter was a non-starter” having fallen “short by $60k”; ii) the project was “on indefinite
10
     hold”; and iii) “honestly, GOVERRE doesn’t even have a product.” Id. Greer then informed
11
     Perrulli that “If it ever gets off the ground to a point where they are even in limited production,
12
     I think a serious legal notice from your attorney would of course be warranted.” Id. Greer
13
     closed by reiterating to Govino that “without exception, my heart and focus lies on helping
14
     you make Govino successful”; and that “as you know, it’s been a personal passion of mine for
15
     a great while.” Id. Greer informed Defendants and forwarded his communications with
16
     Govino. SOUF ¶¶ 159-160.
17
           Greer’s statement was knowingly false. What Greer did not tell Perrulli and Govino
18
     was that just days before, on or around January 17, 2014, Greer attended GOVERRE’s private
19
     launch party. SOUF ¶ 154. In that context Greer had just congratulated Kelaher and Zappala,
20
     and advised them that the “next 28 days are really ‘mission critical’ and offered the services of
21
22   LJG marketing director Amanda Whichard to help with “connecting of micro-campaigns and

23   the execution of these”. SOUF ¶ 155. Greer also received a rendering of Goverre to share

24   with his expert months before. SOUF ¶ 156. Having dissuaded Perrulli and Govino’s

25   concerns, the same day, Greer issued a $2,000 check from LJG to Goverre to help Goverre
26   move forward. SOUF ¶ 157. Greer immediately continued behind Govino’s back and
27   Defendants continued to promote Goverre on social media, and facilitate its promotional
28   events. Id. While Greer was dissuading Govino and Perrulli from taking action, he was
29
                                                     11
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 1   passing information to Zappala. SOUF ¶ 158. As Zappala testified, Greer’s statement to
 2   Perrulli was false, and Goverre was never on indefinite hold SOUF ¶ 153.
 3         Defendants were privy to Greer’s conversations with Perrulli and Govino as Greer was
 4   forwarding them to Defendants. SOUF ¶ 140. Defendants also authorized, expected, and
 5   understood Greer was communicating on their behalf. Id. Accordingly Greer’s actions are
 6   imputed to Defendants. Zappala certainly understood Govino’s concern and was on notice,
 7   telling Greer “ My only concern, at this point in time, is not getting you into the middle of
 8   anything” and “OK! Will I still be allowed up in Govino land?? ;) hehe.” SOUF ¶ 158.
 9         Greer allowed the falsehoods and Govino’s detrimental reliance to continue even as
10
     Goverre continued to develop into a competitor and threat over the next year and a half.
11
     SOUF ¶ 159. For example, while LJG was retained to develop a new media campaign, refresh
12
     its brand and logo, and redesign Govino’s website in 2014-2015, Greer kept silent about
13
     Goverre every step of the way including: when Goverre initiated a second Kickstarter
14
     campaign; when Goverre’s second Kickstarter campaign became successful; when Greer
15
     continued to help Goverre with its public relations, social media marketing, brand
16
     management, and press outreach for upcoming trade shows; and when Goverre began shipping
17
     product to its customers. SOUF ¶ 160.
18
           In April 2014, Zappala would further misleadingly congratulate Joseph on Govino
19
     developments but continue to suppress facts about Goverre’s development, “using Govino
20
     proportions”, listing Govino as a competitor in pitch decks. SOUF ¶ 161. As far as Perrulli
21
     was concerned, Zappala’s previous “Goverre” project was a non-starter that was a source of
22
     embarrassment to her, and not worth mentioning. SOUF ¶ 162.
23
           As another example, while Perrulli, along with Zappala, attended Greer’s intimate
24
     wedding in Italy as one of only a few non-family members in May 2016, where Govino
25
     supplied specially seventy-two custom-engraved Govino glasses used throughout the entire
26
     occasion, Greer and Zappala continued to keep silent. SOUF ¶ 163. And as Greer continued
27
     to plug Govino and share Govino, including its acquisition by new ownership, Perrulli’s new
28
     role as Govino’s Creative Director, and the release of Govino’s new beer glass product, Greer
29
                                                     12
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 1   and Zappala kept silent about the fact that Goverre had applied to be on the ABC show Shark
 2   Tank, and that Greer was helping Goverre prepare for that appearance. SOUF ¶ 164. Even
 3   when Perrulli’s girlfriend Rebecca Thompson, introduced herself to Zappala as working in
 4   wine distribution, sales and marketing for Maisons & Domaines Henriot, and being a veteran
 5   in the wine industry for 20 years, Zappala only told a half-truth about being a “stay-at-home”
 6   mom, who used to be in marketing. SOUF ¶ 165. Neither Zappala, nor Greer brought up how
 7   Zappala had started a wine glass company called Goverre, that might be appearing on Shark
 8   Tank despite the natural segues. SOUF ¶ 166. Indeed there were plenty of opportunities to do
 9   so during the wedding ceremonies, dinner, kitchen cooking together, poolside, happy hour,
10   breakfasts, when they spent 3-4 days at the villa. Id. Zappala and Greer’s suppression of facts
11   continued on to other friendly meetings including 4th of July gatherings with Perrulli and
12   Thompson and a holiday party. SOUF ¶ 167.
13          Only after Goverre aired on Shark Tank in April of 2017 and closed a deal publicly did
14   Govino find out that Goverre was not been abandoned after its first Kickstarter campaign
15   failed. SOUF ¶ 168. Govino immediately sent cease & desist letters to Goverre in May. Id.
16   Weeks after the episode aired, Govino began to learn of and experience consumer confusion
17   between Govino and Goverre. SOUF ¶ 174. Greer’s deception and falsehood denied Govino
18   the opportunity to seek multiple legal options, prejudiced Govino’s rights, and limited
19   Govino’s only remedy to filing an expensive lawsuit against Goverre and its founders which it
20   did three years after its first Kickstarter campaign in July of 2017. Id.
21   III.   STATEMENT OF LAW
22          Summary judgment is only appropriate where the pleadings and papers “show that there
23
     is no genuine issue as to any material fact and that the moving party is entitled to judgment as
24
     a matter of law.” Fed. R. Civ. P. 56(c). As the moving party, Goverre bears the burden of
25
     demonstrating the absence of a genuine issue of material fact. Anderson v. Liberty Lobby, Inc.,
26
     477 U.S. 242, 256 (1986). In deciding Goverre’s Motion for Partial Summary Adjuication, the
27
     Court must view the evidence in the light most favorable to Govino, and all doubts and
28
29
                                                     13
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 1   reasonable inferences must be drawn in Govino’s favor. See, e.g., Rockwell Int’l Corp. v.
 2   U.S., 147 F.3d 1358, 1366 (Fed. Cir. 1998).
 3
     IV.     ARGUMENT
 4
             A.    There Are Material Issues Of Fact Relating To Goverre’s Laches Defense.
 5
 6                 1.     Fails To Establish Even An Initial Burden.

 7           “Of course, a party seeking summary judgment always bears the initial responsibility of
 8   informing the district court of the basis for its motion, and identifying those portions of “the
 9   pleadings, depositions, answers to interrogatories, and admissions on file, together with the
10   affidavits, if any,” which it believes demonstrate the absence of a genuine issue of material
11   fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The non-moving party bears the
12
     burden of producing evidence to support its claim only after the moving party has met its
13
     burden. Id. at 324. Although Goverre noticed summary adjudication on laches, it did not
14
     attempt to meet its initial burden. As such, the court should deny summary adjudication on
15
     laches.
16
                   2.    There Is A Presumption Against Laches Because Govino Brought Suit
17                       Within The Four-Year Statute Of Limitations.
18           Regardless of Defendants’ evidentiary failures, Govino is entitled to a presumption
19   against laches. Ninth Circuit courts have consistently held that if a plaintiff brings a trademark
20   lawsuit within four years of the time it knew or should have known of the infringement, there
21   is a strong presumption that laches cannot apply. Pinkette Clothing, Inc. v. Cosmetic Warriors
22   Limited, 894 F.3d 1015, 1025 (9th Cir. 2018) (“The most analogous state statute of
23   limitations…is California’s four-year statute of limitations for trademark infringement
24   actions.”); Jarrow Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d 829, 835 (9th Cir. 2002)
25   citing Shouse v. Pierce County, 559 F.2d 1142, 1147 (9th Cir. 1977) (“[A] laches
26   determination is made with reference to the limitations period for the analogous action at law.
27   If the plaintiff filed suit within the analogous limitations period, the strong presumption is that
28
29
                                                     14
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 1   laches is inapplicable.”). Here, it is undisputed that Goverre did not ship a single glass until
 2   March 30, 2015. SOUF ¶ 169. Thus, there is a strong presumption against laches.
 3                3.   Applying Laches Would Not Be Equitable Because Any Delay By
                       Govino In Bringing Suit Was Due To John Greer’s Intentional
 4                     Misrepresentations.
 5         After determining whether a presumption against laches applies, Courts then assess the
 6   equity of applying laches using the E-Systems factors: (1) “strength and value of trademark
 7   rights asserted;” (2) “plaintiff’s diligence in enforcing mark;” (3) “harm to senior user if relief
 8   denied;” (4) “good faith ignorance by junior user;” (5) “competition between senior and junior
 9   users;” and (6) “extent of harm suffered by junior user because of senior user’s delay.” E-
10   Systems, Inc. v. Monitek, Inc., 720 F.2d 604, 607 (9th Cir. 1983).
11         In addition to Govino’s presumption against laches, each of the E-Systems factor favors
12   Govino: (1) Govino’s trademark rights are strong, as evidenced by significant recognition and
13   publicity. SOUF ¶ 172. (2) Govino diligently filed suit after discovering that Goverre was on
14   the market in April, 2017. SOUF ¶ 173. (3) The many inquiries to Govino sales
15   representatives about Goverre evidence customer confusion and diversion of sales if relief is
16   denied. SOUF ¶ 174. (4) As discussed in Section II.B, supra, any delay was attributable to
17   good-faith ignorance of Goverre’s activities due to John Greer’s fraudulent statements made
18   on behalf of Goverre. SOUF ¶ 175. (5) Govino and Goverre compete for customers looking
19   for stemless on-the-go wine glasses. SOUF ¶ 176. (6) Goverre was shipping product for only
20   two years when Govino brought suit. SOUF ¶ 177. The harm to Goverre is insufficient to
21   justify nullifying Govino’s trademark rights. Govino should be allowed to present this
22   evidence at trial.
23         Further, a laches defense does not apply if there is willful trademark infringement;
24   defendant's knowing use of plaintiff's marks in order to exploit their value barred defendant
25   from asserting a laches defense. DC Comics v. Towle, 802 F.3d 1012, 1026, 43; Media L. Rep.
26   (BNA) 2368, 116 U.S.P.Q.2d 1068 (9th Cir. 2015). As discussed below, Goverre knowingly
27   infringed Govino’s trademarks to exploit their value.
28
29
                                                     15
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 1         B.     The Facts Are Sufficient For The Jury To Find Willful Infringement.
 2                1.    Goverre’s Founders Knowingly Used Govino When Selecting The
                        Name “Goverre,” Formulating Goverre’s Business Plan, And
 3                      Designing The Product.
 4         As discussed above in great detail, Govino was front-and-center in Goverre’s naming,
 5   formation and development. Defendants deliberately recruited Govino’s contracted brand
 6   manager, selected a confusingly similar name, cribbed Govino’s tag-lines, reverse-engineered
 7   Govino’s glass, followed Govino’s business plans, and capitalized on mistaken associations.
 8   And when Perrulli raised concerns of confusion, Goverre’s further suppression confirm
 9   knowledge and willfullness. These undisputed facts are sufficient to defeat summary
10   judgment.
11         And as discussed above, Goverre admitted in its “SWOT analysis” as weaknesses that
12   its “name is actionable”. SOUF ¶ 192
13                2.   The Gonzalez Email Does Not Even Purport To Be An “Opinion” And
14                     Is Nevertheless Insufficient To Defeat Willfulness.
           Obtaining the advice of counsel only negates willfulness if the advice is competent and
15
     the defendant follows counsel’s advice. Chiron Corp. v. Genentech, Inc., 268 F. Supp. 2d
16
     1117, 1121 (E.D. Cal. 2002) (citing Comark Communications, Inc. v. Harris Corp., 156 F.3d
17
     1182, 1191 (Fed. Cir. 1998)). “Whether advice is competent, and whether it was reasonable to
18
     rely on the advice, depends on several factors, including: (1) the background research
19
     performed by the attorney; (2) whether the opinions were written or oral; (3) the objectivity of
20
     the opinions; (4) whether the attorneys rendering the opinions were trademark lawyers; (5)
21
     whether the opinions were detailed or merely conclusory; and (6) whether material
22
     information was withheld from the attorney.” adidas-Am., Inc. v. Payless Shoesource, Inc.,
23
     546 F. Supp. 2d 1029, 1048 (D. Or. 2008) (citing Chiron Corp. v. Genentech, Inc., 268 F.
24
     Supp. 2d 1117, 1121 (E.D. Cal. 2002)). Goverre was not reasonable in relying on Mr.
25
     Gonzalez’s email for several reasons.
26
           First, the Gonzalez email does not even conclude that Goverre does not infringe. SOUF
27
     ¶ 193. Instead Mr. Gonzalez states only that he is “not concerned” about the issue of
28
     “likelihood of confusion.” Id. His only explanation is that “names can change.” Id.
29
                                                    16
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 1   Presumably Mr. Gonzalez meant that Goverre, the junior user, could change its name to avoid
 2   infringement. Goverre did not heed Mr. Gonzalez’s warning.
 3         Second, even Mr. Gonzalez’s email is interpreted as an opinion of non-infringement, it
 4   is too scant to negate willfulness. It is a single sentence in an email that also discussed other
 5   topics, it lacks any detail, and it cites no relevant legal authority. Such a meager, off-the-cuff
 6   statement is not “thorough enough to instill a good faith belief that defendant’s use of the
 7   trademark would not infringe plaintiff’s rights.” Trovan, Ltd. v. Pfizer, Inc., 2000 WL 709149,
 8   at *26 (C.D. Cal. 2000); see also, Chiron Corp., 268 F.Supp.2d at 1122 (“The fifty-six page
 9   letter is thorough, detailed, cites the relevant case law, and was drafted by patent attorneys. All
10   of these facts support a finding that the opinion letter was both competent and reliable.”).
11         Third, Mr. Gonzalez is not a trademark lawyer. According to his firm bio page, Mr.
12   Gonzalez oversees the firm’s “Environment & Land Use, Government Relations, and Election
13   Law practice area groups” and also “assists with matters under the Real Estate, Action Sports,
14   Business, and Litigation practice groups.” SOUF ¶ 178. Further, Goverre’s engagement letter
15   with Mr. Gonzalez does not even mention trademark law. SOUF ¶ 179. It instead specifies
16   that Mr. Gonzalez will “draft and file a provisional patent for the product, and to provide
17   general business and legal consulting services.” Id.
18                3.     The USPTO Prosecution History Is Irrelevant.
19
           Defendants’ arguments about the prosecution history are irrelevant. Goverre knew
20
     Govino considered GOVERRE to be infringing in January 2014, and acted instead to deceive
21
     Govino.
22
           Further, Defendants improperly speculate that because the Trademark Examiner’s
23
     search reports “reveals that she viewed certain records, she must have concluded that there
24
     was no conflicting applications or…she would have cited either of those prior filed
25
     applications as a potential bar.” SOUF ¶ 180. Not so. An actual replication of each of the
26
     Trademark Examiner’s searches for potentially conflicting marks, and a review of each of
27
     those marks, reveals that the Trademark Examiners did not consider Govino’s registered
28
     “GOVINO” mark when evaluating GoVerre’s trademark application for “GOVERRE”, and
29
                                                     17
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 1   did not consider GoVerre’s registered mark “ANY WINE. ANY TIME” when evaluating
 2   Govino’s application for “GO ANYWHERE.” SOUF ¶¶ 180-181. Regardless, the finding of
 3   a trademark examining attorney “must be regarded as inconclusive since [it is] made at [the]
 4   lowest administrative level.” Carter Wallace, Inc. v. Procter & Gamble Co., 434 F.2d 794,
 5   801–02 (9th Cir.1970). “The ultimate determination by the PTO “is rendered less persuasive
 6   still by the fact that the [PTO] did not have before it the great mass of evidence which the
 7   parties [subsequently present]”).” Id. Indeed, standards for evaluating likelihood of confusion
 8   in the USPTO’s examination process is more much limited than litigation since Trademark
 9   Examiners are limited to evaluating the potentially conflicting trademarks as filed for the
10   goods and services as described in the pending applications and Trademark Examiners search
11   results are often flawed, as they were during the examinations of Govino and GoVerre’s
12   applications. SOUF ¶ 181.
13              4.     The Richard Opinion Does Not Defeat Willfulness.
14         Ms. Richard’s non-infringement opinion is too little too late to justify summary
15   judgment of no willfulness. In Arctic Cat Inc. v. Bombardier Recreational Prod. Inc., 876
16   F.3d 1350, 1371 (Fed. Cir. 2017), the Court affirmed a finding of willfulness where the
17   defendant performed only a cursory analysis of the plaintiff’s patents upon discovering them
18   and waited years before seeking the advice of qualified counsel. Ibid. Similarly, in Chiron
19   Corp. v. Genentech, Inc., 268 F. Supp. 2d 1117 (E.D. Cal. 2002), the defendant only sought an
20   opinion of counsel after it had decided to move forward without engaging in licensing
21   discussions. The Court held that a “jury could infer” that the defendant had “sought the
22   outside opinion only to insulate itself from enhanced damages for willful infringement rather
23   than for advice upon which it could rely in making its business decisions.” Id. at 1125.
24         Here Goverre knew that Govino believed Goverre infringed Govino’s trademark in
25   January 2014 and received at most an off-the-cuff response from Mr. Gonzalez at that time.
26   Over three years later, after Govino discovered that Goverre was on the market and sent a
27   cease-and-desist letter, did Goverre finally seek the advice of qualified counsel. As in Arctic
28   Cat Inc. and Chiron Corp., a jury could reasonably decide that Goverre sought Ms. Richard’s
29
                                                    18
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 1   opinion letter not to seek advice upon which it could rely in making a business decision but
 2   rather only to insulate itself from enhanced damages for willful infringement.
 3           In addition to waiver, Goverre is not entitled to summary judgment of no willfulness
 4   based on Ms. Richard’s opinion letter because Goverre withheld relevant information about its
 5   future products from Ms. Richard. Courts have emphatically held that a defendant cannot rely
 6   on an opinion letter if it has withheld material information from its legal counsel:
 7                 In order to provide a prophylactic defense to a charge of willful infringement,
                   ‘counsel’s opinion must be premised upon the best information known to the
 8                 defendant. Otherwise, the opinion is likely to be inaccurate and will be
                   ineffective to indicate a defendant’s good faith intent. Whenever material
 9                 information is intentionally withheld, or the best information is intentionally not
                   made available to counsel during the preparation of the opinion, the opinion can
10                 no longer serve its prophylactic purpose of negating a finding of willful
11                 infringement

12   Chiron Corp. v. Genentech, Inc., 268 F.Supp.2d 1117, 1123 (E.D. Cal. 2002) (quoting
13   Comark Communications, Inc. v. Harris Corp., 156 F.3d 1182, 1191 (Fed. Cir. 1998)
14   (emphasis in original)).
15           As of the date of Ms. Richard’s opinion letter in July 2017, Goverre had been working
16   on its clear wine glass product, currently marketed as “Clair by Goverre," for at least several
17   months and even had a prototype that it had shown its Shark Tank investors and at the
18   Chicago, IHA show involving 8,000 vendors in February 2017. SOUF ¶ 182. Clair was one
19   of Goverre’s two products. SOUF ¶ 184. Even though likelihood of product line expansion is
20   one of the Sleekcraft factors and clearly relevant to Ms. Richard’s analysis, Goverre
21   deliberately withheld this information. Ms. Richard testified under oath that she never had any
22   discussions with Goverre about its future products, including Clair. SOUF ¶ 185.	
23           A jury could infer that Defendants because Defendants withheld important and
24   potentially damaging information from Ms. Richard, they “sought the opinion in bad faith, and
25   did not actually rely on any aspect of the opinion letter.” Chiron Corp., 268 F.Supp.2d at
26   1125.
27
28
29
                                                     19
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 1
             C.    There Are Sufficient Facts In The Record Support A Finding Of An
 2                 “Exceptional” Case.
 3
             Willful infringement is sufficient grounds for a finding that a case is exceptional and an
 4
 5   award of attorneys’ fees. See e.g., Horphag Research Ltd. v. Pellegrini, 337 F.3d 1036, 1042

 6   (9th Cir. 2003) (“Exceptional cases include cases in which the infringement is malicious,

 7   fraudulent, deliberate, or willful.”); Earthquake Sound Corp. v. Bumper Indus., 352 F.3d 1210,

 8   1216 (9th Cir. 2003) (“A trademark case is exceptional where the district court finds that the
 9   defendant acted maliciously, fraudulently, deliberately, or willfully”); Playboy Enterprises,
10   Inc. v. Baccarat Clothing Co., 692 F.2d 1272, 1276 (9th Cir. 1982). For the reasons discussed
11   in Section II.B, supra, Goverre is not entitled to summary judgment on the issue of willfulness.
12   Thus, summary judgment is also inappropriate on the issue of whether this is an exceptional
13   case.
14           D.    The Facts Support An Award of Actual Damages And Disgorgement of
                   Profits.
15
16           Under §1117(a), a plaintiff may recover an infringing defendant’s profits in two
17   situations: (1) as a measure of the plaintiff’s own damages; or (2) on a theory of disgorgement
18   of the defendant’s unjustly obtained profits. Spin Master, Ltd. V. Zobmondo Entertainment,
19   LLC, 944 F.Supp.2d 830, 839 (C.D. Cal. 2012). The Act “confers a wide scope of discretion
20   upon the district judge in the fashioning of a remedy for a violation of the Act[.]” Id.
21                 1.     Govino’s May Recover Goverre’s Profits As A Proxy Of Its Own
22                        Actual Damages.

23           Courts have recognized that a plaintiff “may use defendant’s profits as a proxy for its
24   actual damages” in a case under §1117(a). Paramount Farms Int’l LLC v. Keenan Farms Inc.,
25   2012 WL 12892420, at *2 (C.D. Cal. 2012) (emphasis added); Spin Master, Ltd. V. Zobmondo
26   Entertainment, LLC, 944 F.Supp.2d 830, 839 (C.D. Cal. 2012) (permitting the plaintiff to
27
     pursue its “proxy theory of lost profits” which used the defendant’s profits as a “yardstick”
28
     measure of its actual lost profits.) Quia Corp. v. Mattel, Inc., 2011 WL 2749576, at *7 (N.D.
29
                                                      20
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 1   Cal. July 14, 2011)(“Where a plaintiff and defendant are in direct competition and the plaintiff
 2   is unable to prove its own lost sales, an award of the defendant's profits may serve as proxy for
 3   what the plaintiff would have recovered had the defendant not infringed upon or been likely to
 4   dilute the plaintiff's mark.”) citing Maier Brewing Co. v. Fleishmann Distilling Corp., 390
 5   F.2d 117, 123 (9th Cir. 1968); Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1407 (9th Cir.
 6   1993).
 7            “When the defendant’s profits are the measure of the plaintiff’s losses, ‘[t]he plaintiff
 8   has only the burden of establishing the defendant’s gross profits from the infringing activity
 9   with reasonable certainty,’ which are presumed to be the result of the infringing activity.”
10   Spin Master, 944 F.Supp.2d at 839 (citations omitted). Framed another way, “Plaintiff must
11   establish both that the parties are in direct competition and that Plaintiff suffered actual loss
12   due to Defendants’ infringing sales.” Blau v. YMI Jeanswear, Inc., 2004 WL 5313967, at *5
13   (C.D. Cal. Jan. 2, 2014). “[T]he plaintiff need not show that the infringement was willful.”
14   Paramount Farms Int’l LLC v. Keenan Farms Inc., 2012 WL 12892420, at *2 (C.D. Cal.
15   2012) (emphasis added).
16            This “Diversion-of-Sales” theory is “based on the idea that the defendant diverted sales
17   that would have gone to the plaintiff but for the infringement.” Spin Master, 944 F.Supp.2d at
18   840 (citations omitted).
19            Here, Goverre and Govino market and sell its glasses to the same retailers. Goverre
20   sells its glasses in “retail stores and on the internet through online retailers and the company’s
21   website.” SOUF ¶ 186. Govino also sells in retail stores and on the Internet through online
22   retailers. SOUF ¶ 187. Indeed, Goverre and Goverre glasses are both sold on Wine Enthusiast
23   (online), Touch of Modern (online), QVC (online) and Amazon (online). Id. Also, both
24   Govino and Goverre target the same customer base. Both glasses are marketed on Amazon as
25   portable, stemless wine glasses for consumers on the go. SOUF ¶ 188. The Govino and
26   Goverre glasses also appear in the same product categories to Amazon consumers. Id.
27
28
29
                                                       21
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 1          A comparison of Govino and Goverre’s sales, as shown in the graph below, reveal that
 2   Govino’s rate of sales began to decrease as soon as Goverre entered the market in 2015.1
 3
 4
 5
 6
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 9
10
11          Goverre reported total gross profits from merchandise sales of $1,121,080, for the
12   period from January 2015 through February 2018. SOUF ¶ 189. This total does not include
13   amounts labeled as “KS Income”, which presumably represent income received from
14   Goverre’s Kickstarter campaign. Id. Meanwhile, Govino’s sales dipped by approximately
15   $1,195,379 from $7,873,879 to $6,678,500 from 2016 to 2017. Id.
16                 2.      Govino Is Entitled To Disgorgement Of Profits If It Establishes
                           Willfulness.
17
18          As discussed in Section II.B, supra, there are important material issues of fact for the
19   jury to determine that Goverre willfully infringed Govino’s trademark and trade dress
20   including the Govino mantra that influenced Goverre’s development, and Goverre’s sneaking
21   around and hiding of facts.
22
            E.    A Reasonable Jury Could Conclude That Govino’s Trademark And Trade
23                Dress Are Famous.
24          There is sufficient undisputed evidence for a jury to conclude that Govino’s trademark

25   and trade dress are famous. A mark is “famous” for purposes of dilution if “it is widely

26   recognized by the general consuming public of the United States as a designation of source of

27   the goods or services of the mark’s owner.” 15 U.S.C. § 1125(c)(2). In determining whether a
28   1
      The line graph plots the annual gross sales for both Govino (red) and Goverre (blue) for the time period from
29   2014 to 2017.
                                                            22
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 1   mark or trade dress possesses the requisite degree of recognition, the court may consider “all
 2   relevant factors,” including, but not limited to, the following: (i)The duration, extent, and
 3   geographic reach of advertising and publicity of the mark, whether advertised or publicized by
 4   the owner or third parties. (ii) The amount, volume, and geographic extent of sales of goods or
 5   services offered under the mark. (iii) The extent of actual recognition of the mark and (iv)
 6   Whether the mark was registered under the Act of March 3, 1881, or the Act of February 20,
 7   1905, or on the principal register.
 8               1.     Goverre Incorrectly Relies On Coach Services
 9          Goverre leans on Coach Services v. Triumph Learning LLC, 668 F.3d 1356 (Fed. Cir.
10   2012), which relies on the reasoning of cases decided prior to the enactment of the Trademark
11   Dilution Revision Act in 2006, to argue that Govino is not famous. This District has
12   questioned the applicability of caselaw that relies on the pre-TDRA standard for fame. QS
13   Wholesale, Inc. v. Rox Volleyball, Inc., Case No. 13-0512-AG(JPRx), 2014 WL 12567147 at
14   *10 (C.D. Cal. Dec. 31, 2014) In QS Wholesale, Judge Guilford declined to follow Coach
15   Services explaining that “[T]he Court is skeptical about the extent of the continued
16   applicability of the reasoning of the cases cited by the Coach Services, Inc. court because
17   those cases were decided before enactment of the TDRA.” (emphasis added).1 The QS
18   Wholesale Court also distinguished the Coach Services’ on procedural grounds, namely that
19   Coach Services’ was reviewing a decision of the Trademark Trial and Appeals Board and thus
20   reviewing factual findings for “substantial evidence.” QS Wholesale, 2014 WL 12567147 at
21   *10. In contrast, on a motion for summary judgment, the Court must view the evidence in the
22   light most favorable to the non-moving party. 2 Id. Judge Guilford ultimately denied summary
23
     1
       Goverre reliance on “non-famous” cases Blue Man Productions v. Tarmann, 75 U.S.PQ.2d 1811 (T.T.A.B.
24   2005); Thane Intern., Inc. v. Trek Bicycle Corp. 204 F.3d 894,911-912 (9th Cir. 2002) (Trek Bicycles);
     Hasbro, Inc. v. Clue Computing, Inc. 66F.Supp.2d 117 (D. Mass. 1999); Hasbro, Inc. v. Clue Computing, Inc.
25   66F.Supp.2d 117 (D. Mass. 1999); Advantage Rent-A-Car, Inc. v. Enterprise Rent-A-Car, Co., 238 F.3d 378
     (5th Cir. 2001) should also be distinguished for being decided before the TRDA.
26
     2
       Goverre’s non-famous cases Blue Man Group, Advantage Rent-A-Car, Maker’s Mark Distillery, Inc. v.
27   Diageo North America, Inc., 703 F.2d 671 ((W.D. Ky. 2010); and Idaho Golf Partners, Inc. v. Timberstone
28   Management LLC (D. Idaho 2017) should likewise be distinguished for applying a “sufficient evidence”
     following findings of fact rather than a “light most favorable” to Govino standard. Similar to the Judge
29   uilford’ recitation of the “substantial evidence” standard for a review of a Trademark Trial and Appeals Board,
                                                             23
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 1   judgment holding that a reasonable jury could conclude that the ROXY mark, with $200
 2   million in sales and $20 million in promotional expenditures, was famous. QS Wholesale,
 3   2014 WL 12567147 at *10. Goverre’s cited cases are inapposite for the same reasons.
 4          Defendants argument further confuses sufficient and necessary metrics. Indeed, govino
 5   is advertised and promoted through donations and discounting of millions of glasses, co-
 6   branding with international brands, and co-branding with hundreds of wineries that don’t
 7   translate in a raw advertising budget. Its prolific history of design awards; extensive publicity
 8   through media seen by large numbers of the general public; memorialization and recognition
 9   as a game-changer in both the wine and housewares industry; unique exposure at music, wine
10   and film festivals, are unique distinguishing factors that, when viewed in favor of Govino
11   satisfy the requirements of 15 U.S.C. § 1125(c)(2) and overcome Goverre’s challenge on
12   summary judgment.
13          F.   Kelaher And Zappala Can Be Held Liable For “Authorizing” And
                 “Directing” Goverre’s Activities.
14
            Kehaler and Zappala can be held directly liable for trademark infringement that they
15
     authorized, directed or participated in, even if they were acting as agents of the corporation
16
     and not on their own behalf. Coastal Abstract Serv., Inc. v. First Am. Title Ins. Co., 173 F.3d
17
     725, 734 (9th Cir. 1999) (“An officer cannot ‘hide behind the corporation where he is an actual
18
     participant in the tort.”); The Committee for Idaho's High Desert, Inc. v. Yost, 92 F.3d 814,
19
     823 (9th Cir. 1996) (“[A] corporate officer or director is, in general, personally liable for all
20
     torts which he authorizes or directs or in which he participates, notwithstanding that he acted
21
     as an agent of the corporation and not on his own behalf”); Townsley v. Micro Hydroponics,
22
     Inc., 2008 WL11336799, at *3 (C.D. Cal. Dec. 11, 2008) (“Defendants argue that courts have
23
     required officers to be “central figures” in the infringing activity. However, the court did not
24
     base its decision on this reasoning, and instead merely states the basic rule: ‘It is clear that [the
25
     officer] authorized and approved the acts of unfair competition ... this is sufficient actual
26
     participation to make [him] individually liable.’”). It is undisputed that Kelaher and Zappala,
27
28
     “a jury’s verdict must be upheld if it is supported by substantial evidence…”. See e.g. Wallace v. City of San
29   Diego, 479 F.3d 616, 624 (9th Cir. 2007).
                                                             24
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 1   who did not even hire an employee until 2017, authorized, directed, or participated in all of
 2   Goverre’s infringing activities. SOUF ¶ 190. Further, Zappala and Kelaher are apparently
 3   responsible for the business and divide the work 50-50. SOUF ¶ 191.
 4          The Court should ignore Goverre’s “contributory infringement” strawman. The caselaw
 5   makes clear that Kelaher’s and Zappala’s liability is for direct, not contributory, infringement.
 6
     V.     CONCLUSION
 7
            Goverre’s motion for partial summary adjudication should be denied.
 8
 9
10
11
12   Dated: August 17, 2018
13
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30        PLAINTIFF GOVINO, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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 1                                   CERTIFICATE OF SERVICE
 2
 3         I herby certify that on August 17, 2018, I electronically transmitted the attached
 4   document to the Clerk of the Court using the ECF System for filing and transmittal of a Notice
 5   of Electronic Filing to the registered participants as identified on the Notice of Electronic
 6   Filing (NEF).
 7
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 9
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11                                           /s/ Whitney Miner
12                                           Whitney Miner
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30      PLAINTIFF GOVINO, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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